'v_v

Case 2:04-cr-20397-SH|\/| Document54 Filed 08/26/05 Pagelon Page| 81

IN THE UNITED STATES DIS'I‘RICT COURT am

 

 

FOR THE wEsTERN DISTRICT oF TENNESSEE ` '°"“'~'°‘-°`
WESTERN DIVISION gsms 5 m 6_ ha
uNITED STATES oF mERIcA, ` agg};|?}%é°o§m%
W
vs. No. 04-20397-Ma OFTN'MEWB

FREDDIE FORD,

Defendant.

 

ORDER GRANTING MOTION TO WITHDRAW AND
REFERRING MATTER TO MAGISTRATE JUDGE FOR APPOINTMENT OF COUNSEL

 

Before the court is the August 17, 2005, motion to withdraw
filed by Marty B. McAfee, appointed counsel for the defendant
Freddie Ford. For good cause shown, the motion is granted and
Mr. McAfee is allowed to Withdraw from representing the defendant
in this matter. The matter is referred to the magistrate judge
for appointment of counsel for the defendant pursuant to the

15}(\

day of August, 2005.

M(/M/n.`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Criminal Justice Act.

It is SO ORDERED this

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20397 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

